            Case
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                  16-10342, 10/04/2016,
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                       UNITED STATES COURT OF APPEALS                           OCT 04 2016

                                                                            MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                          No. 16-10342

                Plaintiff-Appellant,                D.C. No. 4:15-cr-00372-JD
                                                    Northern District of California,
 v.                                                 Oakland

 ALEJANDRO JIMENEZ,
                                                    ORDER
                Defendant-Appellee.


         Appellant’s motion for voluntary dismissal of this appeal is granted. This
appeal is dismissed. See Fed. R. App. P. 42(b).
         This order served on the district court shall act as and for the mandate of this
court.




                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT



                                                 By: David J. Vignol
                                                 Deputy Clerk



DV/AppComm Direct Criminal
